Case 8:13-cr-00324-JSM-TGW Document 285 Filed 04/05/16 Page 1 of 2 PageID 1569




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


    UNITED STATES OF AMERICA

    v.                                              Case No.: 8:13-cr-324-T-30TGW

    MICHEL LERMOS-HERNANDEZ


                            FORFEITURE MONEY JUDGMENT

             The defendant pleaded guilty to count two of the Third Superseding

    Indictment, in violation of 18 U.S.C. § 1349, and the United States has established

    that the defendant obtained $849,902.46 in proceeds as a result of the offense.

             The United States moves (Doc. 284) under 18 U.S.C. § 982(a)(2)(A), and

    Rule 32.2(b)(2), Federal Rules of Criminal Procedure, for entry of a forfeiture

    money judgment against the defendant. The motion for entry of a forfeiture money

    judgment (Doc. 284) is GRANTED. Under 18 U.S.C. § 982(a)(2)(A), and Rule

    32.2(b)(2), Federal Rules of Criminal Procedure, the defendant is jointly and

    severally liable with his co-conspirators, convicted of the same offense, including

    Viviana Reyes, for a forfeiture money judgment in the amount of $849,902.46,

    which represents proceeds obtained as a result of the conspiracy to commit bank

    fraud.

             The United States may seek, as a substitute asset in satisfaction of this

    judgment, forfeiture of any of the defendant’s property up to the value of the money
Case 8:13-cr-00324-JSM-TGW Document 285 Filed 04/05/16 Page 2 of 2 PageID 1570




    judgment. Jurisdiction is retained to enter any order necessary for the forfeiture

    and disposition of any substitute asset and to address any third-party claim.

             Pursuant to Rule 32.2(b)(4) and the defendant’s Plea Agreement (Doc. 277,

    p. 10), this order of forfeiture is final as to the defendant.

             ORDERED in Tampa, Florida, on April 5, 2016.




    Copies furnished to:
    All Parties/Counsel of Record
    F:\Docs\2013\13-cr-324 forfeit mj 284.docx




                                                 2
